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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                      Northern Division

CSC SUGAR LLC,                               *

       Plaintiff,                            *       Civil Action No. 1:24-cv-00984-JRR

v.                                           *

M/V ST. PAUL, IMO: 9623051, its              *
engines, tackle, and apparel,
                                             *
       Defendant in rem,
                                             *
and
                                             *
ASTEROPE SHIPPING CO. LTD.,
                                             *
       Defendant quasi in rem,
                                             *
and
                                             *
The Master of the M/V ST. PAUL,
                                             *
       Garnishee.
                                             *

       *       *       *       *      *      *       *       *      *       *       *

                    WARRANT OF ARREST IN ACTION IN REM (VESSEL)

TO THE MARSHAL OF THE DISTRICT OF MARYLAND - GREETING:

        WHEREAS, a Verified Complaint has been filed by Plaintiff CSC Sugar LLC United
States District Court for District of Maryland on April 4, 2024, against the defendant, M/V ST.
PAUL, IMO 9623051, all of its engines, machinery, tools, boats, anchors, chains, tackle, fittings,
navigation equipment, and all other equipment and appurtenances appertaining or belonging to
the Vessel, whether on board or not ("Vessel"), in rem, upon admiralty and maritime claims for
breach of maritime contracts, for maritime torts, and for possession of the vessel, for the reasons
and causes in said complaint mentioned and praying for process of warrant for the arrest of said
Vessel and that all persons interested in the said Vessel may be cited in general and special to
answer the premises and all proceedings be had;
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       NOW THEREFORE, you are hereby commanded to take into your possession the above-
named Vessel and to detain the same in your custody until further order of this Court, and that
you promptly after execution of this process file same in this Court with your return thereon.

        WHEREAS this process is issued pursuant to such prayer and requires that any claimant
to the Vessel serve his claim to vessel within 14 days after process has been executed, and shall
serve an answer within 21 days after the filing of the claim.

                    4 day of April, 2024.
       Issued this ___

                                                    Catherine M. Stavlas
                                                    Clerk - U.S. District Court



                                                           /s/
                                                    By: _______________________________
                                                    B. Wilson, Deputy Clerk




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